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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                   AMARILLO DIVISION


 Alexander R. Deanda,

                       Plaintiff,

 v.                                               Case No. 2:20-cv-00092-Z

 Xavier Becerra, et al.,

                       Defendants.


                    JOINT STATUS REPORT AND
                MOTION TO SET BRIEFING SCHEDULE
      On June 21, 2021, the Court ordered the parties to submit a status report and
propose briefing deadlines for the Court’s consideration (ECF No. 47). The parties
have conferred and respectfully ask the Court to approve the following summary-
judgment briefing schedule:

        The plaintiff will file his motion for summary judgment on or before
        July 25, 2022.

        The defendants’ consolidated response to the plaintiff’s motion for
        summary judgment and defendants’ cross-motion for summary judg-
        ment will be due on August 19, 2002.

        The plaintiff’s consolidated reply brief in support of his motion for sum-
        mary judgment and response to the defendants’ cross-motion for sum-
        mary judgment will be due on September 9, 2022.

        The defendants’ reply brief in support of their cross-motion for sum-
        mary judgment will be due on September 23, 2022.
      The parties fully expect this case to be resolved on the motions for summary
judgment. If the Court denies each of the competing summary-judgment motions,
then the parties will confer at that time about proposed pre-trial and trial dates, as
well as any other issues following the court’s summary-judgment ruling.



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    A proposed order is attached.

                                        Respectfully submitted.

  /s/ Jonathan F. Mitchell               /s/ Amber Richer
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 Dated: June 29, 2022




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                         CERTIFICATE OF SERVICE
    I certify that on June 29, 2022, I served this document through CM/ECF upon:

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Counsel for Defendants



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiff




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